Case 6:17-cv-00533-JDK-JDL Document 22 Filed 07/13/18 Page 1 of 2 PageID #: 306




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION
 JERRY LAZA                                         §
                                                    §
                      Plaintiff,                    §
                                                    §
 v.                                                 §
                                                         CIVIL ACTION NO. 6:17-cv-00533
                                                    §
 CITY OF PALESTINE, MIKE ALEXANDER,                 §
 RONALD STUTES                                      §    JURY TRIAL REQUESTED
                                                    §
                      Defendants.                   §
                                                    §
                                                    §



                     NOTICE OF UNAVAILABILITY OF ATTORNEY

        1.     Lance Vincent, attorney for Defendants, files this notice of unavailability with

 the court clerk.

        2.      Mr. Vincent will be unavailable from July 23, 2018 through July 27, 2018 for

 pre-planned and scheduled vacation.

        3.      Mr. Vincent has notified all counsel of record but has not conferred with

 counsel.

        4.      During this period of unavailability, Mr. Vincent will be unable to attend

 hearings or respond to motions, depositions, discovery, meetings, or other actions regarding

 this matter. Therefore, Mr. Vincent requests that the Court and opposing counsel not schedule

 any hearings, trials or other matters in the above referenced case for the period of July 23,

 2018 and July 27, 2018 as well as immediately following in order to allow adequate

 preparation time.
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                                                     Respectfully submitted,
                                                     RITCHESON, LAUFFER & VINCENT
                                                     A Professional Corporation

                                                     TWO AMERICAN CENTER
                                                     821 ESE Loop 323, Ste. 530
                                                     Tyler, Texas 75701
                                                     (903) 535-2900
                                                     lancev@rllawfirm.net;
                                                     gayf@rllawfirm.net

                                                           /s/ Lance Vincent
                                                     By: _______________________________
                                                         Lance Vincent
                                                         State Bar No. 20585580

                                                     ATTORNEYS FOR DEFENDANTS

                                     CERTIFICATE OF SERVICE

          I hereby certify that the foregoing document has been served upon all counsel of record
via efile service delivery on this the 13th day of July, 2017.


                                                            /s/ Lance Vincent
                                                            ____________________________
                                                            Lance Vincent
